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 1
                                                                         FILED IN THE
                                                                     U.S. DISTRICT COURT
 2                                                             EASTERN DISTRICT OF WASHINGTON




 3                                                             Dec 27, 2017
                                                                    SEAN F. MCAVOY, CLERK


 4

 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7   RONALD W. ROUSH and JAMES
     H. HUNTER,                                    NO: 2:17-CV-358-RMP
 8
                              Plaintiffs,          JURY TRIAL SCHEDULING
 9         v.                                      ORDER

10   AKAL GROUP OF COMPANIES,
     LLC, doing business as Akal Security,
11   Inc.,

12                            Defendant.

13

14         A telephonic scheduling conference was held in this matter on December 12,

15   2017. Plaintiffs Ronald W. Roush and James H. Hunter appeared pro se. William

16   M. Symmes and Stanley F. Corbit appeared on behalf of Defendant Akal Group of

17   Companies, LLC. The Court has reviewed the parties’ Joint Status Certificate, ECF

18   No. 5, has heard from counsel, and is fully informed. Accordingly, IT IS HEREBY

19   ORDERED:

20         1.     Motion Practice

21               (a) All parties shall adhere to LR 7.1.

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 1             (b) Motions to Expedite, if any, shall be filed separately and noted for

 2       hearing at least seven (7) days from the date of filing, pursuant to LR

 3       7.1(h)(2)(C). If the matter needs to be heard on a more immediate basis, the

 4       party filing the motion shall advise chambers of such.

 5             (c) All non-dispositive motions will be heard without oral argument

 6       unless oral argument is requested and approved by the Court. If an in-person

 7       argument is desired, the parties must advise the Court why an in-person

 8       argument would be appropriate when contacting the Court to schedule the

 9       hearing.

10             (d) All dispositive hearings in which oral argument has been requested

11       shall be set for in-person appearance; however, the parties may request to

12       appear telephonically or by video conference.

13             (e) Speaker phones are not compatible with the Court’s sound

14       system and may not be used.

15             (f) Notwithstanding the foregoing procedure, the Court may decide

16       that oral argument is not warranted and proceed to determine any motion

17       without oral argument.

18        2.    Initial Disclosures

19        Pursuant to Fed. R. Civ. P. 26(a)(1), the parties shall disclose the following:

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 1                 (a) A list of all individuals, including addresses and phone numbers, if

 2         known, who are likely to have discoverable information relevant to any issue

 3         in the case;

 4                 (b) A copy or description of all documents and tangible things that may

 5         be relevant to any issue in the case;

 6                 (c) A computation of any damages claimed by any party; and

 7                 (d) A description of any insurance agreement that must be made

 8         available for inspection and/or copying.

 9         3.      Any motion to amend pleadings or add named parties shall be filed and

10   served on or before January 23, 2018, or meet the standard of Fed. R. Civ. P.

11   16(b)(4).

12         4.      Expert Disclosures

13         The parties shall exchange the materials identified in Fed. R. Civ. P.

14   26(a)(2)(B) in accordance with the following schedule, but shall not file these

15   materials with the Court.

16                 (a) Each party shall identity its experts and serve written reports as

17         required by Rule 26(a)(2) on all other parties no later than May 31, 2018.

18                 (b) Each party shall identify its rebuttal experts and serve written

19         reports as required by Rule 26(a)(2) on all other parties no later than July 20,

20         2018.

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 1              (c) The parties may modify the deadline for exchange of expert

 2       disclosures by joint stipulation filed with the Court; a motion is not required.

 3              (d) Pretrial disclosure of the identity of all other persons shall conform

 4       to the requirements of Fed. R. Civ. P. 26(a)(1) (persons with relevant

 5       knowledge) and 26(a)(3) (witnesses).

 6       5.     Discovery

 7              (a) All discovery shall be completed on or before August 17, 2018.

 8              (b) The parties shall file no discovery except as necessary to support

 9       motions.

10       6.     Dispositive Motions and Motions to Exclude Expert Testimony

11              (a) All dispositive motions and motions challenging the admissibility

12       of expert opinion testimony on the basis of Daubert v. Merrell Dow

13       Pharmaceuticals, Inc., 509 U.S. 579 (1993), shall be filed and served by

14       September 7, 2018.

15              (b) As with all motions filed in this case, dispositive motions and

16       Daubert motions shall comply with the page and time limits set forth in LR

17       7.1(b), (c), (e), and (h).

18              (c) If the party challenging expert testimony anticipates that an

19       evidentiary hearing shall be required, the party shall so advise the Court and

20       opposing counsel in conjunction with the filing of its Daubert motions. The

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 1           party shall describe the nature of the evidence to be presented and provide an

 2           estimate of the amount of time required for the hearing.

 3                 (d) The party seeking to exclude the testimony of an expert shall attach

 4           a copy of the Rule 26(a)(2) report produced by the expert to the Daubert

 5           motion.

 6           7.    Settlement Status

 7                 (a) By October 5, 2018, the parties shall file a Settlement Status

 8           Certificate stating whether they would be in agreement to schedule mediation

 9           with one of the court’s senior judges or full-time magistrate judges.

10                 (b) If the parties fail to file a Settlement Certificate by the date given,

11           the parties shall appear before the Court for a telephonic status conference on

12           October 12, 2018, at 9:30 a.m. to discuss the prospect of a settlement

13           conference. This hearing shall take place only if the parties fail to file the

14           Settlement Certificate, in which case the parties shall call the Court’s toll-free

15           conference line at (888) 363-4749 and enter access code 6699898#. Please

16           listen carefully and follow the automated instructions so that you can be added

17           to the conference in a timely manner. Speaker phones are not compatible

18           with the Court’s sound system and may not be used.

19   / / /

20   / / /

21   / / /

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 1       8.      Exhibit and Witness Lists

 2               (a) Exhibit lists and witness lists shall be filed and served and exhibits

 3       made available for inspection (or copies provided), on or before December 6,

 4       2018.

 5               (b) The witness list shall include identification of each witness’s

 6       testimony. For any expert witness included on the witness list, the proferring

 7       party shall e-mail the Rule 26(a)(2) report to the Court at

 8       petersonorders@waed.uscourts.gov.

 9               (c) Objections to the opposing party’s witness and exhibit lists and any

10       accompanying briefs shall be filed and served on or before December 13,

11       2018.

12               (d) Responses, if any, to objections to witnesses and exhibits shall be

13       filed and served on or before December 20, 2018.

14               (e) Where feasible, all exhibits identified in depositions shall be pre-

15       marked with the exhibit numbers that will be used at trial. Plaintiffs’ trial

16       exhibits are to be numbered 1 through 199; Defendant’s exhibits are to be

17       numbered 200 and following.

18               (f) The parties shall prepare a pretrial exhibit stipulation that contains

19       each party’s numbered list of all trial exhibits with the opposing party’s

20       objections to each exhibit, including the basis of the objection and the offering

21       party’s brief response. All exhibits to which there is no objection shall be

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 1         deemed admitted, subject to any objections at trial that could not be raised in

 2         advance.

 3               (g) The pretrial exhibit stipulation shall be substantially in the

 4         following form:

 5                               Pretrial Exhibit Stipulation

 6   Plaintiffs’/Defendant’s Exhibits

 7       Exhibit No.           Description      If Objection, State         Response to
                                                     Grounds                 Objection
 8
                 (h) The pretrial exhibit stipulation shall be filed on December 20,
 9
           2018. Failure to comply with this paragraph could be deemed to constitute a
10
           waiver of all objections. Do not submit blanket or boilerplate objections to
11
           the opposing party’s exhibits. These will be disregarded and overruled.
12
                 (i) Objections to exhibits and witnesses shall be heard at the pretrial
13
           conference.
14
                 (j) Copies of exhibits to which there are objections shall be provided to
15
           the Court on or before December 20, 2018. Parties shall submit these
16
           exhibits on a flashdrive or disk.
17
                  (k) The Court utilizes JERS (Jury Evidence Recording System) to
18
           allow evidence admitted for a trial to be viewed electronically via touchscreen
19
           monitor in the jury deliberation room upon the conclusion of the trial. Please
20
           note that the jury will receive a verbatim copy of the JERS exhibit list. Please
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 1       carefully review and follow the instructions provided. A disk or flashdrive

 2       containing all proposed exhibits must be provided to the Court no later than 7

 3       days preceeding trial. JERS Instruction Sheet for Attorneys

 4       9.      Designation of Testimony

 5               (a) Designation of substantive, as opposed to impeachment, deposition

 6       testimony shall be by highlighting and shall be served upon opposing counsel,

 7       but not filed, on or before December 6, 2018.

 8               (b) Cross-designations by highlighting in a different color shall be

 9       served, but not filed, on or before December 13, 2018.

10               (c) Objections to any designated deposition testimony shall be filed and

11       served on or before December 20, 2018, and shall be heard and resolved at

12       the pretrial conference.

13               (d) Copies of designations to which there are objections shall be

14       provided to the Court on or before December 20, 2018.

15       10.     Motions in Limine

16               (a) All unresolved substantive or evidentiary issues that may

17       foreseeably arise during trial shall be addressed by Motions in Limine to be

18       filed and served on or before December 21, 2018.

19               (b) Responses shall be filed and served on or before December 28,

20       2018.

21               (c) Replies shall be filed and served on or before January 4, 2019.

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 1                  (d) Motions in Limine shall be noted for hearing at the pretrial

 2           conference.

 3           11.    Pretrial Order

 4                  (a) A joint Pretrial Order, prepared in accordance with the format

 5           provided in LR 16.1(b) shall be filed on or before January 10, 2019, and a

 6           copy e-mailed in Word format to the Court at

 7           petersonorders@waed.uscourts.gov. The Court will not accept individually

 8           filed pretrial orders.

 9                  (b) Any facts that are agreed upon by the parties and require no proof

10           must be submitted to the Court prior to trial as written stipulations.

11                  (c) The list of exhibits contained in the joint Pretrial Order shall reflect

12           the exhibit marking scheme described above in paragraph 8(e).

13                  (d) In preparing the joint Pretrial Order, the parties shall confer

14           regarding duplicate exhibits and determine which party will submit such

15           exhibits for trial.

16           12.    Trial Briefs and Proposed Voir Dire shall be filed by January 10,

17   2019.

18           13.    Jury Instructions

19           No later than January 10, 2019, the parties shall:

20                  (a) Confer regarding jury instructions and file jointly proposed jury

21           instructions and a table of proposed jury instructions.

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 1                (b) The jointly proposed jury instructions should address only issues

 2        that are unique to this case and shall include instructions regarding the

 3        elements of each count, any necessary definitions, and a proposed verdict

 4        form.

 5                (i) All instructions shall be short, concise, understandable, and neutral

 6                statements of the law. Argumentative instructions shall not be

 7                submitted or given.

 8                (ii) The parties shall provide the Court electronically with a table of

 9                proposed, cited Jury Instructions. This table shall include:

10                   (a) The instructions on which the parties agree;

11                   (b) The instructions that are disputed; and

12                   (c) The basis of any objection.

13                   (d) The jury instruction table shall be substantially in the following

14                   form:

15    Proposed by:      Instruction #     9th Cir. Cite     Objection        Response to
                                                                              Objection
16

17                (c) In addition to the jury instruction table, each party shall address

18        any objections they have to instructions proposed by any other party in a

19        memorandum which identifies the specific portion of any proposed instruction

20        to which they object and shall concisely state the basis for the objection.

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 1                  (d) If any proposed instruction is a modified version of model

 2         instructions, the parties shall identify the modification and legal authority for

 3         the modification.

 4                  (e) Objections asserting that an instruction sets forth an incorrect or

 5         inappropriate statement of law shall cite specific legal authority supporting the

 6         objection.

 7                  (f) Failure to file an objection and supporting memorandum may be

 8         construed as consent to the adoption of an instruction proposed by another

 9         party.

10         14.      Court Dates

11                  (a) An in-person pretrial conference will be held on January 22, 2019,

12         at 1:30 p.m. in Spokane, Washington.

13                  (b) The jury trial shall commence on February 4, 2019, at 9:00 a.m.

14         in Spokane, Washington. Counsel estimates a trial length of ten (10) days.

15         15.      The Court requires that the following be submitted to the courtroom

16   deputy clerk no later than noon on January 28, 2019:

17                  (a) The original binder of exhibits together with three discs or flash

18         drives containing copies of the same. Exhibits for presentation at trial shall be

19         placed in a tabbed binder indexed by exhibit number with exhibit tags placed

20         consistently on the bottom right corner of each exhibit.

21                  (b) One copy of a final joint exhibit list.    Joint Exhibit List Form

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 1                (c) One copy of witness lists in the order in which the witnesses are

 2         expected to be called to testify.

 3         16.    Pursuant to Fed. R. Civ. P. 16, this schedule shall not be modified

 4   unless the Court finds good cause to grant leave for modifications. Fed. R. Civ. P.

 5   16(f) provides for sanctions for failure to obey the Scheduling Order.

 6         IT IS SO ORDERED. The District Court Clerk is hereby directed to enter

 7   this Order and to provide copies to counsel.

 8         DATED this December 27, 2017.

 9                                                s/ Rosanna Malouf Peterson
                                               ROSANNA MALOUF PETERSON
10                                                United States District Judge

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